Case 2:04-Cr-20480-BBD Document 25 Filed 07/08/05 Page 1 of 2 Page|D 26

DICD

iN THE uNlTED sTATEs olsTRicT couRT F“‘E° M“'“

FoR THE wEsTERN olsTRicT oF TENNEssEE _ ,
WEsTERN olvlsloN 05 JUL 8 Ftl h l2

 

UN|TED STATES OF AMER|CA %U§YIALYM
P|aintiff
VS.
CR. NO. 04-20480-D
DERR|CK CRUN|PTON
Defendant.

 

ORDER ON CONT|NUANCE AND SPECIFY[NG PER|OD OF EXCLUDABLE DELAY
AND SETT[NG

 

This cause came on for a report date on June 30, 2005. At that time, counsel forthe
defendant requested a continuance of the Ju|y 5, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a

re ort date of Thursda Ju| 21 2005 at 9:00 a.m., in Courtroom 3 9th F|oor of the

 

 

Federa| Bui|ding, Memphis, TN.

The period from Ju|y 15, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 31 61 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy tria|.

|T |S SO ORDERED this §§ day Of Ju|y, 2005.

 

RN|CE B. NALD
N|TED STATES D|STR|CT JUDGE

This document entered on the docket sheetin cc.m‘.plianc,-s
with auie 55 ami/or 32(b) irach on 7‘ 'OJ’

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
case 2:04-CR-20480 Was distributed by faX, mail, or direct printing on
July ]3, 2005 to the parties listed.

 

 

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Pamela B. Hamrin

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

EdWin A. Perry

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Honcrable Bernice Donald
US DISTRICT COURT

